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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION



THE DAILY WIRE, LLC et al.,

             Plaintiffs,

      v.                                    Civil Action No. 6:23-cv-00609 (JDK)

UNITED STATES DEPARTMENT
OF STATE et al.,

             Defendants.




  DEFENDANTS’ UNOPPOSED MOTION FOR LEAVE TO FILE EXCESS PAGES



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                                         Principal Deputy Assistant Attorney General

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       Pursuant to Local Civil Rule 7(k), the government respectfully requests leave to file a 49-page

response brief in opposition to Plaintiffs’ Motion for Preliminary Injunction, in excess of the page

limit that applies to response briefs for non-dispositive motions. Good cause supports this request:

       1. Pursuant to the Court’s Order dated March 18, 2024, the government’s deadline to

           respond to Plaintiffs’ Motion for Preliminary Injunction is March 22, 2024. ECF No. 29.

       2. Plaintiffs’ brief in support of their Motion for Preliminary Injunction is 36 pages long and

           has 40 exhibits. Plaintiffs’ Complaint is 66 pages long and contains 313 paragraphs and 5

           counts.

       3. In order to adequately address the issues raised in Plaintiffs’ Motion, and also to accurately

           describe the relevant factual background pertaining to Plaintiffs’ voluminous exhibits and

           the numerous allegations in the Complaint, the government respectfully requests leave to

           file a 49-page brief.

       4. Moreover, under the Eastern District of Texas’s Local Rule 7(a)(2), the government would

           ordinarily be permitted 15 pages for its opposition to Plaintiffs’ Motion for Preliminary

           Injunction. The Court granted Plaintiffs leave however, without objection from

           Defendants, to file a 36-page brief in support of their motion. Given the length of that

           brief, Plaintiffs’ 40 exhibits, and the length of the Complaint, the government seeks a

           reasonable 13-page extension beyond that which Plaintiffs sought for their motion and

           this Court granted.

       5. Undersigned counsel has conferred with counsel for Plaintiffs, who do not oppose this

           request, so long as Defendants consent to Plaintiffs’ forthcoming request for leave to file

           a 20-page reply brief in support of their Motion for Preliminary Injunction, as well as a 7-

           day extension of time to file that brief, making it due on April 12, 2024. See ECF No. 17




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         (current deadline for Plaintiffs’ reply brief is April 5, 2024). Defendants do not oppose

         that forthcoming request.

Dated: March 22, 2024                              Respectfully submitted,

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                                                   /s/ Arjun Mody
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                                                   Counsel for Defendants




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                              CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7(i), counsel for Defendants conferred with counsel for Plaintiffs

regarding the relief requested in this motion. Plaintiffs do not oppose the motion.

                                                       /s/ Arjun Mody
                                                       ARJUN MODY




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                                   CERTIFICATE OF SERVICE

        On March 22, 2024, I electronically submitted this document to the clerk of court of the U.S.

District Court for the Eastern District of Texas using the court’s electronic case filing system. I certify

that I have served all parties electronically or by another manner authorized by Federal Rule of Civil

Procedure 5(b)(2).

                                                         /s/ Arjun Mody
                                                         ARJUN MODY




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